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                     22-4656(L), 22-4659, 22-4669, 22-4670,
                               22-4684, 22-4685

                          United States Court of Appeals
                                                    for the
                                          Fourth Circuit

                                     UNITED STATES OF AMERICA,

                                                                                Plaintiff/Appellee,

                                                    – v. –


                  MOISES ORLANDO ZELAYA-VELIZ, SANTOS ERNESTO
                  GUTIERREZ CASTRO, JOSE ELIEZAR MOLINA-VELIZ,
                   LUIS ALBERTO GONZALES, GILBERTO MORALES,
                         JONATHAN RAFAEL ZELAYA-VELIZ,

                                                                         Defendants/Appellants.
                       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA AT ALEXANDRIA

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                          OUTSIDE OF THE ALLEGED OFFENSE CONDUCT
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                        STATEMENT OF APPELLATE JURISDICTION

              Defendant-Appellants Moises Zelaya-Veliz, Jose Eliezar Molina-Veliz,

        Santos Ernesto Gutierrez Castro, Luis Alberto Gonzales, Gilberto Morales, and

        Jonathan Rafael Zelaya-Veliz were charged with offenses against the United States

        thereby conferring jurisdiction pursuant to 18 U.S.C. § 3231. JA181-197. On

        November 10, 2022, the district court entered final judgment as to all defendants.

        JA1295-1342. Defendant-Appellants timely filed notices of appeal. JA1346-1352.

        This Court has appellate jurisdiction pursuant to 28 U.S.C. § 1291.




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                           STATEMENT OF THE ISSUE PRESENTED

           I.      WHETHER THE DISTRICT COURT ERRED IN DENYING
                   DEFENDANTS’ MOTIONS TO SUPPRESS FACEBOOK
                   EVIDENCE WHERE THE DEFENDANTS ASSERTED THAT THE
                   SEARCH WARRANTS AUTHORIZING LAW ENFORCEMENT
                   TO SEIZE AND REVIEW THE CONTENTS OF THE
                   DEFENDANTS’ FACEBOOK ACCOUNTS FOR LENGTHY
                   PERIODS OF TIME OUTSIDE OF THE ALLEGED OFFENSE
                   CONDUCT WAS ISSUED WITHOUT PROBABLE CAUSE IN
                   VIOLATION OF THE FOURTH AMENDMENT AND WERE
                   FATALLY OVERBROAD, CONTRAVENING THE FOURTH
                   AMENDMENT’S PARTICULARITY REQUIREMENT

           II.     WHETHER INSUFFICIENT EVIDENCE WAS PRESENTED AT
                   TRIAL TO SUPPORT THE GUILTY VERDICTS ON ALL COUNTS
                   AS TO DEFENDANT GUITIERREZ-CASTRO

                                      STATEMENT OF THE CASE

                 In October 2020, the defendant-appellants were charged in a multi-count

        indictment with crimes alleging gang-related sexual exploitation of E.B., a minor, in

        the Eastern District of Virginia and Maryland. JA181-197. The offense conduct

        alleged in the indictment occurred between August 27, 2018 and October 11, 2018,

        the time period during which E.B. had absconded from a juvenile shelter care facility

        in Fairfax County. JA181-197.

                 In pretrial ligation, defendant-appellants Moises Zelaya-Veliz, Jose Eliezar

        Molina-Veliz, Luis Alberto Gonzales, Gilberto Morales, and Jonathan Rafael

        Zelaya-Veliz challenged a series of search warrants for their Facebook accounts on

        Fourth Amendment grounds. JA23-27. The warrants authorized the search and



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        seizure of a laundry list of data from long before and after the dates of the offense

        conduct for most of the defendants. JA1353-1592. 1 For defendant-appellant Luis

        Gonzalez, the warrant for his Facebook accounts had no temporal limitations

        whatsoever. JA1381. Defendants argued the warrants were issued without probable

        cause and were impermissibly over-broad in violation of the Warrant clause’s

        particularity requirement. JA64-130, JA146-147.

              The district court, in denying the motions to suppress Facebook evidence,

        erroneously found that the “magistrate judges [who issued the warrants] in each

        instance did have a substantial basis for concluding, as to each of the defendants, a

        sufficient nexus existed between the Facebook accounts to be searched and the

        crimes under investigation.” JA114-115. The district court went on to conclude

        “[w]ith respect to particularity and overbreadth, there’s no doubt that these warrants

        were broad, but the issue with respect to the particularity requirement is whether the

        warrant sufficiently identifies the items to be seized and not leave to the discretion

        of the executing officer whether an item is within the scope of the warrant.” JA117.

        While the warrants permitted the seizure of broad categories of data, the district court


        1
          The warrant for Defendant-Appellant Moises Zelaya-Veliz’s Facebook account
        authorized the search and seizure of his Facebook account from January 1, 2018
        (eight months prior to the offense conduct) to July 12, 2019 (the date of the warrant).
        JA1475. The warrants for Defendant-Appellants Jose Eliezar Molina-Veliz, Gilberto
        Morales, and Jonathan Rafael Zelaya-Veliz authorized the search and seizure of their
        Facebook accounts from January 1, 2018 to February 20, 2020 (the date of the
        warrant’s issue). JA1492.

                                                   3
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        reasoned that “a warrant that describes items to be seized broadly may be valid if the

        description is as specific as the circumstances and the nature of the activity under

        investigation allows.” JA117. The district court further found there was sufficient

        probable cause set forth in the warrant affidavits for apparently every category of

        data possessed by Facebook and sought by law enforcement. JA117-119. As to

        timeframe of data sought by the warrants, the district court referenced the ongoing

        investigation into a purported “broader criminal enterprise” and reasoned that the

        successive Facebook warrants narrowed the timeframe of records sought. 2 JA117-

        119. The district lastly found that even if the warrants lacked probable cause or were


        2
          However, the Facebook warrants reveal that the agent switched warrant templates
        during the investigation, which broadened the warrant in several respects, including
        the time periods for which incriminating evidence was sought. The warrants issued
        on March 14, 2019, and June 5, 2019, using an apparently older Facebook warrant
        template, had no temporal limitations whatsoever and called for the disclosure of
        nine categories of information. JA1356-1358, JA1381-1384. The information
        requested in the warrants are identical and appear to be designed to capture the
        entirety of any Facebook account. The warrants issued on July 12, 2019, and
        February 20, 2020, used a different, updated template that had at least some temporal
        limitation—seeking Facebook records from January 1, 2018 (almost 9 months prior
        to the offense conduct) to the date of the warrants’ issuance such that the successive
        warrant with the new template grabbed more data than the prior warrant. JA1475,
        JA1492. The updated templates sought an even greater laundry list of data (18
        different categories) to include GPS location information for the entire timeframe of
        the warrant—every time a person logs on to Facebook, Facebook records the
        location from which the persons logs on. JA1476-1480, JA1494-1498. The new
        laundry list also required Facebook to disclose any accounts “forensically linked”
        (whatever that means) to the defendant-appellants’ accounts through cookies, e-mail
        addresses, phone numbers, or other account information. JA1478, JA1496. That is,
        the FBI was trying request with both warrants everything “under the sun” as to
        regards to all Facebook accounts.

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        overbroad, the good faith exception to the Fourth Amendment’s exclusionary rule

        would apply. JA121-122.

              On June 1, 2022, the defendants proceeded to trial. 3 JA41. During trial, the

        United States introduced dozens of Facebook communications through its summary

        witness, Special Agent Jeremy Obie, which the defendants had challenged pretrial

        as obtained in violation of the Fourth Amendment. JA690-788, JA790-993, JA1109-

        1122. The Facebook communications were devastating evidence against all

        defendants as the communications consisted of real-time statements by the

        defendants demonstrating their participation in the charged offense conduct in

        addition to prejudicial communications indicating the defendants’ involvement in or

        support of the MS-13 gang. JA1242-1257. The United States opening statement and

        closing arguments were replete references to the numerous exhibits of Facebook

        communications from the defendants’ Facebook accounts that the United States


        3
          Specifically, Defendant-Appellants Moises Zelaya-Veliz, Jose Eliezar Molina-
        Veliz, Santos Ernesto Gutierrez Castro, Luis Alberto Gonzales, and Jonathan Rafael
        Zelaya-Veliz proceeded to trial on three counts charging 1) Conspiracy to Sex
        Traffic a Minor Under Age 14 and via Force, Fraud and Coercion in violation of 18
        USC § § 1951(a), (b)(1) and (c) & 1594(c), 2) Sex Trafficking a Minor Under Age
        14 and via Force, Fraud, and Coercion in violation of 18 USC § § 1591(a), (b)(1),
        (c) & 2, and 3) Conspiracy to Transport a Minor with Intent to Engage in Criminal
        Sexual Activity in violation of 18 USC § § 2423(a) & (e). Defendant-Appellant
        Gilberto Morales proceeded to trial on two counts charging Conspiracy to Sex
        Traffic a Minor Under Age 14 and via Force, Fraud and Coercion in violation of 18
        USC § § 1951(a), (b)(1) and (c) & 1594(c) and Sex Trafficking a Minor Under Age
        14 and via Force, Fraud, and Coercion in violation of 18 USC § § 1591(a), (b)(1),
        (c) & 2. JA181.

                                                 5
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        argued was conclusive evidence of their guilt. JA207-208 (opening statement),

        JA1129-1153 (closing argument).

              In its opening statement the government previewed to the jury: “You are going

        to see extensive messages from Facebook because it was on Facebook where the

        defendants discussed at length their plans.” JA207. During the trial, the government

        introduced into evidence the Facebook profiles and numerous Facebook

        communications between the defendants. JA1242-1257. This amounted to over one

        hundred twenty-five (125) separate exhibits that formed the heart of the

        prosecution’s case, reflecting much of the evidence at trial. JA1242-1257. In closing,

        the government told the jury that “when you look at the Facebook evidence that we

        have presented in this case, you will start to see what was really going on behind the

        scenes and what they were actually doing.” JA1129. The government spent a

        significant amount of its closing emphasizing the numerous Facebook exhibits, see

        JA1129-1153, stating that they show “what was going on behind the scenes” and

        “who is involved with the sexual exploitation” alleged by the government. JA1134.

        According to the government, the Facebook messages “paint the story” the

        prosecution is trying to tell. JA1146.

              On June 23, 2022, the jury returned verdicts of guilty on all counts for these

        defendants. JA1280. On November 10, 2022, the defendant-appellants were




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        sentenced to lengthy terms of imprisonment. 4 Defendants filed timely Notices of

        Appeal and this appeal follows. JA1343-1351.

              Defendant-appellants respectfully submit that their convictions should be

        reversed as the trial court improperly denied defendant-appellants’ motions to

        suppress warrants for their Facebook accounts, which provided the United States

        with critical evidence used against them at trial.

                                      The Facebook Warrants

              During the government’s investigation into the sex trafficking allegations, FBI

        Special Agent Jeremy Obie applied for and obtained a series of search warrants that

        sought a laundry list of different types of data from the defendants’ Facebook

        accounts for broad time frames. JA1353, JA1380, JA1428, JA1481. The first search

        warrant was obtained on March 14, 2019, for five Facebook accounts, without any

        temporal limitation, for evidence related to sex trafficking of E.B. between August

        27, 2018 and October 11, 2018. JA1353. The warrant set forth nine different

        categories of information to be disclosed by Facebook, including all

        communications related to the account and a host of other data types (pokes, likes,

        gifts, tags, and “other items”). JA1357. On June 5, 2019, Special Agent Obie


        4
          Moises Zelaya-Veliz was sentenced to 264 months of incarceration (JA1295), Jose
        Eliezar Molina-Veliz to 180 months (JA1237), Santos Ernesto Gutierrez Castro to
        180 months (JA1335), Luis Alberto Gonzales to 300 months (JA1319), Gilberto
        Morales to 180 months (JA1311), and Jonathan Rafael Zelaya-Veliz to 180 months
        (JA1303).

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        obtained a second search warrant for eight additional Facebook accounts, to include

        accounts linked to defendant-appellant Luis Alberto Gonzales, also without any

        temporal limitation. JA1380. The agent utilized the same template used in the March

        14, 2019 warrant. JA1382. That is, the categories of data to be disclosed by Facebook

        were identical to the March 14, 2019 warrant. JA1357, JA1382.

              On July 12, 2019, Special Agent Obie obtained a third search warrant for ten

        more Facebook accounts, including data from the Facebook account of defendant-

        appellant Moises Zelaya-Veliz’s. JA1428. This warrant was based on a different and

        more comprehensive template, which requested a broader array of Facebook records

        than the two previous warrants issued in the case. 5 While the warrant contained a

        temporal limitation requiring the disclosure of Facebook account information from

        January 1, 2018 (almost 9 months before the offense conduct) to the date of the

        warrant, it commanded that Facebook disclose 18 different categories of data to

        include “all check-ins and location information,” which would include GPS location

        data related to the accounts for the entire 18-plus month period. 6 JA1475-1480. On
                                                                            5F




        February 20, 2020, Agent Obie obtained a fourth search warrant for 22 additional

        Facebook accounts, including the accounts of the remaining defendant-appellants,

        5
         See JA1430, citing violations of 18 USC § § 1951(a), (b)(1) and (c), 18 USC §
        2421, 18 USC § 2422(a), 18 USC § 2423(a), 18 USC § 1952, and 18 USC §
        1959(a)(3).
        6
          When a person logs into a Facebook account, Facebook creates a GPS record noting
        from where the account was accessed.

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        from January 1, 2018, to the date of the warrant. This warrant sought disclosure from

        Facebook for the same 18 data categories of information as the July 12, 2019

        warrant. JA1481-1489.

              The following table summarizes the warrants:

              FACEBOOK ACCOUNT WARRANTS FOR OFFENSE CONDUCT
             OCCURRING BETWEEN AUGUST 27, 2018 and OCTOBER 11, 2018

           Date of Issuance      Number of           Limitation on    Temporal
                                 Accounts            Data Type Sought Limitation

           March 14, 2019        5                   Laundry list of        None
           (JA1353)                                  data set forth in
                                                     the warrant
           June 5, 2019          8 (including       Same                    None
           (JA1380)              Facebook
                                 accounts linked to
                                 defendant-
                                 appellant Luis
                                 Gonzales)
           July 12, 2019         10 (including       Augmented            January 1, 2018 to
           (JA1428)              Facebook account    laundry list of data July 12, 2019
                                 of defendant-       set forth in the
                                 appellant Moises    warrant
                                 Zelaya-Veliz)




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              FACEBOOK ACCOUNT WARRANTS FOR OFFENSE CONDUCT
             OCCURRING BETWEEN AUGUST 27, 2018 and OCTOBER 11, 2018
           February 20, 2020 22 (including       Same                       January 1, 2018 to
           (JA1481)          Facebook                                       February 20, 2020
                             accounts of Jose
                             Eliezar Molina-
                             Veliz, Santos
                             Ernesto Gutierrez ,
                             Luis Alberto
                             Gonzales, and
                             Jonathan Rafael
                             Zelaya-Veliz)


              The particular categories of information requested by all the warrants

        demonstrate the massive breadth of information sought. The categories of

        information required to be disclosed by Facebook in the July 12, 2019, and February

        20, 2020, warrants are:

               (a) All contact and personal identifying information including full name, user
        identification number, birth date, gender, contact e-mail addresses, Facebook
        passwords, Facebook security questions, and answers, physical address (including
        city state and zip code), telephone numbers, screen names, websites, device
        identifiers, and other personal identifiers;

               (b) All activity logs for the account and all other documents showing the users
        posts and other-Facebook activities;

              (c) All photos uploaded by that username or account and all photos uploaded
        by any user that have that user tagged in them to include metadata;

              (d) All profile information; advertisement identification tied to the specific
        user and user's device; News Feed information; status updates; links to videos,




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              photographs, articles, and other items; Notes; Wall postings; friend lists,
        including the friends Facebook user identification numbers; groups and networks of
        which the user is a member including the groups ’Facebook group identification
        numbers; future and past event postings; rejected Friend requests; comments; gifts;
        pokes; tags; and information about the user's access and use of Facebook
        applications;

              (e) All other records of communications and messages made or received by
        the user, including all private messages, chat history, video calling history, and
        pending Friend requests;

              (f) All check ins and other location information;

              (g) All IP logs including all records of the IP addresses that logged into the
        account; all device identifier logs, including all records of the device identifiers that
        logged into the account;

               (h) All records of the account's usage of the Like feature, including all
        Facebook posts and all non-Facebook webpages and content that the user has
        “liked”;

        (i)All information about the Facebook pages that the account is or was a “fan” of;

              (j) All past and present lists of friends created by the account;

              (k) All records of Facebook searches performed by the account;

              (l) All information about the user's access and use of Facebook Marketplace;

              (m) The types of service utilized by the user;

              (n) The length of service (including start date) and the means and source of
        any payments associated with the service (including any credit card or bank account
        number);

              (o) All privacy settings and other account settings, including privacy settings
        for individual Facebook posts and activities, and all records showing which
        Facebook users have been blocked by the account;

              (p) All records pertaining to communications between Facebook and any

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        person regarding the user or the user’s Facebook account, including contacts with
        support services and records of actions taken;

              (q) Any records associated with photos posted to the user’s Facebook
        account; any records associated with Instagram photos posted to other Facebook
        accounts that the user commented on or liked; and

               (r) All other accounts which are forensically linked to the account identified
        in Attachment A through cookies, e-mail addresses, phone numbers, or other account
        information.

              While all the above information was required to be disclosed to government

        scrutiny, all the warrants purported, in Attachment B, to seize only information that

        “constitutes fruits, evidence and instrumentalities” 7 of the delineated crimes,
                                                              6F




        including such things as “[p]hotographs of women or girls in provocative poses,

        lingerie or naked women or girls.” JA1487. In reality, based on a review of the

        discovery provided by the Government, the Government seized what it demanded to

        be disclosed—the entire 8 contents of the Facebook accounts, including available
                                 7F




        GPS information, photos of the account holders’ children, private messages,

        birthday greetings, and a vast array of innocent messages and private information

        for extended time periods requested in the July and February 2019 warrants and

        without temporal limitation for the March and June 2019 warrants.

        7
         That is, for the warrants issued on July 12, 2019, and February 20, 2019, violations
        of 18 USC § § 1951(a), (b)(1) and (c), 18 USC § 2421, 18 USC § 2422(a), 18 USC
        § 2423(a), 18 USC § 1952, and 18 USC § 1959(a)(3). The warrants issued on June
        5 and June 12, 2019 sought evidence for similar allegations.
        8
         It would appear that the United States provided in discovery to defense counsel the
        entire contents of all Facebook accounts obtained by the warrants in this case.

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              The affidavits in support these sweeping seizures alleged offense conduct

        related to the defendant-appellants that occurred from August 27, 2018 to October

        11, 2018. JA1402-1403. There are no allegations in the affidavits that the defendants

        were involved in a conspiracy or suspects in child trafficking crimes eight months

        prior to the offense conduct justifying obtaining their GPS location data and other

        Facebook information from January 1, 2018, until the issuance of the warrants. As

        to defendant-appellant Luis Gonzalez, there are no allegations in the June 5, 2019

        warrant affidavit indicating that he was involved in any other criminal conduct

        outside the dates of the indictment to justify the complete disclosure of his Facebook

        accounts without any temporal limitation. JA1380-1411.

               Further, the warrant affidavits supporting warrants for the Facebook accounts

        of Luis Gonzales and Moises Zelaya-Veliz do not even claim these defendants

        utilized their Facebook accounts in furtherance of the alleged crimes under

        investigation, documented the alleged crimes, or discussed the alleged crimes

        through Facebook communications.

              In all the warrant affidavits, the affiant makes general claims, based on his

        training and experience, regarding how “gang related prostitution rings/enterprises”

        operate, stating that “gang members regularly photograph their prostitutes and often

        use these photographs to advertise the prostitutes in print media or on-line.” JA1400.

        The affidavits simply state that “it is known that individuals engaged in prostitution



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        will use electronic means to communicate with clients and prostitutes,” including

        using “cellular telephones and other computer based systems; various social

        networking websites (i.e. Facebook, Instagram, and Twitter, e-mail services and

        instant messaging services.” JA1401. The agent also makes general claims regarding

        MS-13 gang members and their use of cellular phones and messaging applications

        in furtherance of their crimes, provides general background on MS-13, and describes

        that it is “known” that gang members use social media platforms to communicate

        with each other and share photographs and videos. JA1401.

                    Facts Related to Defendant-Appellant Gutierrez-Castro

              In addition to the Facebook communications, the government offered the

        testimony of the alleged victim, E.B., who testified that she engaged in sex with

        multiple men at the home of Gutierrez-Castro. She testified further that she overhead

        him discussing payment in return for her having sex with the men. However, her

        testimony was inconsistent concerning this issue as she initially denied recalling

        Gutierrez-Castro discussing money with the men in return for her having sex when

        questioned on direct examination. JA456, JA560. She also indicated she did not

        recall Gutierrez-Castro discuss money with the men in return for having sex when

        initially questioned by law enforcement on this issue. JA560.

              At the end of the government’s case, counsel for Gutierrez-Castro made a

        motion for judgment of acquittal pursuant to Rule 29 of the Federal Rules of



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        Criminal Procedure. JA43. This motion was renewed and preserved by the court at

        the end of the case. JA1178.

                                    SUMMARY OF ARGUMENT
        I.    THE DISTRICT COURT ERRED IN DENYING DEFENDANTS’
              MOTIONS TO SUPPRESS FACEBOOK EVIDENCE
              The affidavits filed in support of the search warrants were facially deficient

        and failed to provide “a substantial basis for determining the existence of probable

        cause” for the entire contents of the defendant’s Facebook accounts for a period of

        over 18 months or, in the case of Luis Gonzalez, without temporal limitations. See

        Illinois v. Gates, 462 U.S. 213, 239 (1983). Indeed, the affidavits seemingly make

        the sweeping assumption that since the defendants were suspected of committing

        crimes, there must be incriminating information found in their Facebook accounts

        about the instant offenses. See Zurcher v. Stanford Daily, 436 U.S. 547, 556 (1978)

        (“The critical element in a reasonable search is not that the owner of the property is

        suspected of crime but that there is reasonable cause to believe the specific ‘things’

        to be searched for and seized are located on the property to which entry is sought.”).

              Further, the seizure and search of all electronic data from the defendants’

         Facebook accounts for such broad or unlimited timeframes constitutes an immense

         invasion of privacy and is precisely the baseless and overly broad rummaging

         barred by the Fourth Amendment and long condemned by our case law. Facebook

         can store an immense amount of personal data—including chats and messaging,


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         photos, GPS location data –– much like a modern smartphone, if not more so,

         because Facebook is an online platform that “provides a single window through

         which almost every detail of person’s life is visible.” United States v. Shipp, 392 F.

         Supp. 3d 300, 308 (E.D.N.Y. 2019) (stating “threat” of overbroad warrant “is

         further elevated in a search of Facebook data because, perhaps more than any other

        location—including a residence, a computer hard drive, or a car—Facebook

        provides a single window through which almost every detail of a person’s life is

        visible.”); see also Riley v. California, 134 S. Ct. 2473, 2491 (2014) (noting the

        immense privacy interests inherent in a cellphone search and finding that such

        searches would “typically expose to the government far more than the most

        exhaustive search of a house: A phone not only contains in digital form many

        sensitive records previously found in the home; it also contains a broad array of

        private information never found in a home in any form.”) (emphasis in original).

        II.   INSUFFICIENT EVIDENCE WAS PRESENTED AT TRIAL TO
              SUPPORT THE GUILTY VERDICTS ON ALL COUNTS AS TO
              DEFENDANT GUITIERREZ-CASTRO

              The trial judge committed error when he refused to grant defendant Gutierrez-

        Castro’s Rule 29 motion for judgment of acquittal on all counts. The government

        failed to prove beyond a reasonable doubt that Gutierrez-Castro Conspired to Sex

        Traffic a Minor Under Age 14 and a Person via Force, Fraud, and Coercion (Count

        4, Trial Count 1) (18 U.S.C. §§ 1591(a), (b)(1), (c) & 1594(c)); Sex Trafficked a



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        Minor Under Age 14 and a Person via Force, Fraud, and Coercion (Count 5, Trial

        Count 2) (18 U.S.C. §§ 1591(a), (b)(1), (c) & 2); and Conspired to Transport a Minor

        With Intent to Engage in Criminal Sexual (Count 6, Trial Count 3) (18 U.S.C. §§

        2423(a) & (c)). The victim testified that Gutierrez-Castro never transported her

        anywhere for the purpose of having sex with anyone. He never forced her to have

        sex with anyone and he never threatened or coerced her into having sex with anyone.

        Moreover, the victim testified that she did not have sex with Gutierrez Castro.

        JA560-562. She did testify that she had sex with several men while at Gutierrez-

        Castro’s home, but she never testified that she observed him receive anything of

        value in return for her having sex. Moreover, her statements regarding him

        discussing payment for sex with her were inconsistent. Two times she admitted that

        she did not recall Gutierrez-Castro receiving payment for her having sex. JA456,

        JA560. It was only on direct examination, after essentially being impeached by the

        government concerning one of her statements to law enforcement, that she stated

        that she heard him discussing payment for her having sex. JA457-458. This

        statement was given after she initially told law enforcement that she did not hear him

        make such statements. JA560. The victim did not testify that she received from

        Gutierrez-Castro anything in return for her engaging in sex acts allegedly arranged

        by Gutierrez-Castro.




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              The government did not offer any additional witnesses that observed

        Gutierrez-Castro engage in the behavior charged. Moreover, the government’s

        cooperating witnesses did not identify Gutierrez-Castro as someone they knew from

        engaging in any of the behavior charged in this case. In fact, they did not identify

        Gutierrez Castro at all.
              Accordingly, a judgment of acquittal should be entered for Gutierrez-Castro

        on all counts.
                                          ARGUMENT

        I.    THE DISTRICT COURT ERRED IN DENYING DEFENDANTS’
              MOTIONS TO SUPPRESS FACEBOOK EVIDENCE WHERE
              THE    SEARCH   WARRANTS     AUTHORIZING   LAW
              ENFORCEMENT TO SEIZE AND REVIEW THE CONTENTS
              OF THE DEFENDANTS’ FACEBOOK ACCOUNTS FOR
              LENGTHY PERIODS OF TIME OUTSIDE OF THE ALLEGED
              OFFENSE CONDUCT WERE ISSUED WITHOUT PROBABLE
              CAUSE IN VIOLATION OF THE FOURTH AMENDMENT
              AND WERE FATALLY OVERBROAD, CONTRAVENING THE
              FOURTH        AMENDMENT’S         PARTICULARITY
              REQUIREMENT
        A.    STANDARD OF REVIEW
              In determining an appeal from the denial of a suppression motion, the

        evidence is reviewed in the light most favorable to the government, the district

        court’s findings of fact are reviewed for clear error, and its legal conclusions are

        reviewed de novo. United States v. Matthews, 591 F.3d 230, 234 (4th Cir. 2009).

        The application of the Leon good faith exception is reviewed de novo. United States

        v. Williams, 548 F.3d 311, 317 (4th Cir. 2008).



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        B.    THE WARRANTS LACKED PROBABLE CAUSE
              The Warrant Clause of the Fourth Amendment commands that a warrant only

        issue upon probable cause and that the warrant must “particularly describ[e] the

        place to be searched, and the persons or things to be seized.” U.S. Const. amend. IV.

        “These words are precise and clear.” Stanford v. Texas, 379 U.S. 476, 481 (1965).

        A court reviewing the sufficiency of a search warrant must ensure that a “substantial

        basis” for determining probable cause existed, that the warrant was not “a mere

        ratification of the bare conclusions of others,” and that the warrant process did “not

        serve merely as a rubber stamp for the police.” United States v. Leon, 468 U.S. 897,

        914-15 (1984); see also United States v. Griffith, 867 F.3d 1265, 1278 (D.C. Cir.

        2017) (good faith exception cannot save facially insufficient warrant.).
              The above mandates certainly apply to Facebook accounts, which can contain

        gigabytes of data, including messages, photos, videos, as well as geolocation data

        such that a broad and insufficiently tailored warrant to search these accounts runs

        the risk of sweeping in large quantities of information wholly unconnected with the

        suspected criminal activity. As noted above, like a smartphone, a Facebook account

        can contain “[t]he sum of an indivxfidual’s private life,” and implicate collected

        information about a person of unprecedented type, scope, and depth. See Riley v.

        California, 134 S. Ct. 2473, 2489 (2014); United States v. Shipp, 392 F. Supp. 3d

        300, 308 (E.D.N.Y. 2019) (stating that “Facebook provides a single window through

        which almost every detail of person’s life is visible.”).

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              Here, law enforcement unjustifiably obtained a warrant for a laundry list of

        information from the defendants’ Facebook accounts for an unlimited period of time

        as to defendant Luis Gonzalez and a period of 18 months and longer for the other

        defendants, including GPS location information, videos, photos, messages, and other

        information. Such a sweeping search is a perfect exemplar of the privacy risks

        discussed by the Riley Court with regard to cellphones and exposes the defendants’

        most private thoughts, associations, movements, and communications to state

        scrutiny for an unreasonable time period.

              While the warrant affidavits provided a basis that the defendants were

        suspects in certain alleged crimes, probable cause to search their entire Facebook

        accounts requires more. That is, there must be reason to believe that the evidence

        sought by the government will be found in the place to be searched. See Zurcher,

        436 U.S. at 556; Steagald v. United States, 451 U.S. 204, 213 (1981) (“A search

        warrant [] is used upon a showing of probable cause to believe that the legitimate

        object of a search is located in a particular place, and therefore safeguards an

        individual’s interest in the privacy of his home and possessions against the

        unjustified intrusion of the police.”). In other words, there must be some “‘nexus

        between the place to be searched and the items to be seized.’” United States v. Lalor,

        996 F.2d 1578, 1582 (4th Cir. 1993) (quoting United States v. Anderson, 851 F.2d




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        727, 729-30 & n. 1 (4th Cir.1988)); see also, e.g., United States v. McPhearson, 469

        F.3d 518, 524 (6th Cir. 2006) (“[T]he affidavit must suggest that there is reasonable

        cause to believe that the specific things to be searched for and seized are located on

        the property to which entry is sought and not merely that the owner of property is

        suspected of crime.”) (quoting Zurcher, 436 U.S. at 556); United States v. Nolan,

        199 F.3d 1180, 1183 (10th Cir. 1999) (“The test is whether the facts presented in the

        affidavit would warrant a man of reasonable caution to believe that evidence of a

        crime will be found at the place to be searched.”) (quotation omitted); United States

        v. Martin, 297 F.3d 1038, 1314 (11th Cir. 2002) (“It is critical to a showing of

        probable cause that the affidavit state facts sufficient to justify a conclusion that

        evidence or contraband will probably be found at the premises to be searched.”)

        (quoting United States v. Hove, 848 F.2d 137, 140 (9th Cir.1988)).

              As to the individual defendants, there are sparse facts alleged in the warrant

        affidavit for Luis Gonzalez’s Facebook that would lead one to believe that his

        Facebook account would produce evidence of the crimes under investigation.

        Indeed, there is no information in the warrant for his Facebook accounts that he used

        Facebook in furtherance of any of the alleged offenses—the warrant affidavit simply

        alleged that persons involved in such crimes used social media and he had social

        media.




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              As to Moises Zelaya-Veliz, the only information that the defendant

        communicated with anyone involved in the alleged offense conduct via Facebook is

        contained in paragraph 50 of the affidavit for his Facebook account. In paragraph

        50, the warrant affidavit indicates that at some point in time (the dates are not

        provided), the defendant discussed the use of a gun with “Sonic” and sent photos of

        firearms, “drugs such as marijuana,” and photos of people flashing gang signs and

        MS-13 graffiti. JA1447. However, there are no facts stating that he had any

        communications with regard to sex trafficking. Defendant Moises Zelaya-Velez does

        not disagree that the affidavit had facts that indicate that he was associated with MS-

        13. But there do not appear to be facts articulating a nexus between his Facebook

        account and the specific crimes under investigation set forth in the affidavit. This is

        especially true considering the broad range of data sought by the government, such

        as 18 months of GPS location data, and every communication during this time

        period. What are left are general statements about gang members and the use of

        social media, which does not constitute probable cause.

              Absent specific facts articulating a nexus between property and criminal

        activity, courts have long declined to endorse warrants based solely on an invocation

        by law enforcement that an officer’s training, experience, or knowledge justified a

        broad search. For example, in United States v. Schultz, the Sixth Circuit found no

        probable cause existed for a search warrant where law enforcement obtained the



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        search warrant for the defendant’s bank safe deposit box despite the fact that there

        was no specific information indicating that the safe deposit boxes were utilized in

        the defendant’s suspected narcotics operations. 14 F.3d 1093, 1097-98 (6th Cir.

        1994). Instead, the only connection made between the location of the proposed

        search and criminal activity was a single police officer’s claim that “based on his

        training and experience, he believed that it is not uncommon for the records, etc. of

        such drug distribution to be maintained in bank safe deposit boxes.” Id. The Sixth

        Circuit held that no probable cause existed to support the issuance of the warrant in

        question, noting that “an officer’s training and experience . . . cannot substitute for

        the lack of [an] evidentiary nexus,” and that “[t]o find otherwise would be to invite

        the general warrants authorizing searches of any property owned, rented, or

        otherwise used by a criminal suspect—just the type of broad warrant the Fourth

        Amendment was designed to foreclose.” Id. (emphasis in original) (but applying

        good faith exception in upholding warrant).

              Numerous courts across the country have endorsed the same common-sense

        holding—probable cause requires some specific factual foundation linking criminal

        activity to the property searched beyond mere conclusory claims made by law

        enforcement. See, e.g., United States v. Rios, 881 F.Supp. 772, 774-775 (D. Conn.

        1995) (refusing to find probable cause where affidavit contained only law

        enforcement agent’s “general averments based on her training and experience” but



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        included “no allegations of fact linking [the defendant’s] alleged illegal activity” to

        the place searched); United States v. Rosario, 918 F.Supp. 524, 531 (D.R.I. 1996)

        (“To permit a search warrant based solely upon the self-avowed expertise of a law-

        enforcement agent, without any other factual nexus to the subject property, would

        be an open invitation to vague warrants authorizing virtually automatic searches of

        any property used by a criminal suspect.”) (citations omitted); United States v.

        Gomez, 652 F.Supp. 461, 463 (E.D.N.Y. 1987) (“[T]o issue a warrant based solely

        on the agent’s expert opinion would be to license virtually automatic searches of

        residences of persons arrested for narcotics offenses. This would effectively

        eviscerate the Fourth Amendment’s requirement that there be probable cause to

        believe ‘that contraband or evidence of a crime will be found in a particular

        place.’”) (quotation and citation omitted) (emphasis in original).

              In this case, what largely supports the warrants for Defendant-Appellants Luis

        Gonzalez and Moises Zelaya-Veliz are unsubstantiated generalizations about social

        media usage leading to the concerning conclusion that if you are a suspect in a crime

        and you have social media, law enforcement can seize the entirety of your social

        media accounts. The warrants and their fruits should have been suppressed by the

        trial court. For the other defendant-appellants, the warrant affidavits contained

        probable cause for some categories of Facebook account information such as

        communications, but not every conceivable type of data requested in the warrants.



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        As set forth below, the warrants for all defendants, which requested laundry lists of

        data from Facebook obviously designed to capture the entire universe of information

        Facebook maintains for individuals, were fatally overbroad.

        C.    THE WARRANTS WERE FATALLY OVERBROAD

              The Fourth Amendment’s particularity requirement prohibits warrants that

        give law enforcement “unbridled discretion to rummage at will among a person’s

        private effects.” Arizona v. Gant, 556 U.S. 332, 345 (2009). A warrant must “set out

        with particularity” the “scope of the authorized search,” Kentucky v. King, 563 U.S.

        452, 459 (2011), which “is closely tied to the requirement of probable cause.” United

        States v. Griffith, 867 F.3d 1265, 1275 (D.C. Cir. 2017). This requirement constrains

        law enforcement by “prevent[ing] the seizure of one thing under a warrant describing

        another.” Marron v. United States, 275 U.S. 192, 196 (1927). Further, “a properly

        particularized warrant” leaves nothing to “the discretion of the officer execution

        [it],” making “general searches,” which are prohibited by the Fourth Amendment,

        “impossible.” Marron, 275 U.S. at 196. By ensuring that a search is “carefully

        tailored to its justifications,” the particularity requirement ensures that a search “will

        not take on the character of the wide-ranging exploratory searches the Framers

        intended to prohibit.” Maryland v. Garrison, 489 U.S. 79, 84 (1987).

              In this case, law enforcement’s request for the entire contents of the

        defendants’ Facebook accounts for a period of more than 18 months, or in the case



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        of Luis Gonzalez without even this limitation, for offense conduct that allegedly

        occurred between August 27, 2018, and October 11, 2018, was baseless. It equates

        to nothing more than a general warrant to rummage through their private information

        for months (if not years in the case of Luis Gonzalez) before and after any

        involvement in the conduct described in the affidavit. For example, there is no

        information in the warrant affidavits supporting that there was probable cause to

        seize information about defendants location or communications in January 2018 or

        before, or for numerous other categories of information sought by the warrant, such

        as the defendants “likes,” their Facebook security questions, News Feed information,

        status updates, “gifts,” “pokes,” Facebook pages of which they were a “fan” of, “the

        length of service and the means and source of any payments associated with the

        service (including any credit card or bank account number),” and a host of other

        information.

              Federal courts have been increasingly called on to scrutinize “Facebook

        warrants” and have expressed “serious concerns regarding the[ir] breadth.” United

        States v. Shipp, 392 F. Supp. 3d 300, 307 (E.D.N.Y. 2019). In Shipp, the United

        States District Court for the Eastern District of New York confronted a broad

        Facebook warrant nearly identical to the latter two warrants at issue in this case. In

        fact, the warrant considered in Shipp appears to have contained the same laundry list

        of information or template to be “disclosed by Facebook” as warrants here. JA1476-



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        1478, JA1485-1486. 9 Id. at 304-306. Even worse than those warrants, here law

        enforcement expanded its template for the last two warrants to include two new

        categories of information:

              “(q) Any records associated with photos posted to the user’s Facebook
        account; any records associated with Instagram, photos posted to other Facebook
        accounts that the user commented on or liked; and

               (r) All other accounts which are forensically linked to the account identified
        in Attachment A through cookies, e-mail addresses, phone numbers, or other account
        information.”

              JA1477-1478, JA1486-1487.

              The Shipp court, in expressing its concern over the broad nature of a nearly

        identical warrant to the one here, stated that “‘[a] general search of electronic data is

        an especially potent threat to privacy because hard drives and e-mail accounts may

        be ‘akin to a residence in terms of the scope and quantity of information [they] may

        contain.’” Id. at 307 (internal quotations omitted). “This threat is further elevated in

        a search of Facebook data because, perhaps more than any other location—including

        a residence, a computer hard drive, or a car—Facebook provides a single window

        through which almost every detail of person’s life is visible.” Id. at 308. The court

        noted that it was “[p]articularly troubling” that “information stored in non-Facebook

        applications may come to constitute part of a user’s ‘Facebook account’—and thus


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         Compare categories (a) through (p) of July 12, 2019 (JA1476-1478) and February
        20, 2020 (JA1485-1487) warrants to categories (a) through (p) of warrant in the
        Shipp case. Shipp, 392 F. Supp. 3d at 304-306.

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        be subject to broad searches—by virtue of corporate decisions, such as mergers and

        integrations, without the act or awareness of any particular user”—referencing

        Facebook’s plans to merge Facebook Messenger, WhatsApp, and Instagram. Id.

        (citing media source). This Court should be equally troubled. It should also be of

        note that law enforcement, in this case, added new categories of information to be

        disclosed by Facebook to include “any records associated with Instagram” and “[a]ll

        other accounts which are forensically linked to the account identified in Attachment

        A through cookies, e-mail addresses, phone numbers, or other account information.”

        JA1477-1478, JA1486-1487. There are no facts in the affidavit justifying such a

        broad search and seizure and, as concluded by the court in Shipp, “[i]t is thus hard

        to imagine many searches more invasive than a search of all data associated with a

        Facebook account.” Id.

              The Shipp court discussed decisions upholding broad Facebook warrants due

        to the purported nature of digital searches where “‘it is not always feasible to ‘extract

        and separate responsive data from non-responsive data.’” Id. (citing United States v.

        Ulbricht, 858. F.3d 71, 99-100 (2d. Cir. 2017) (also collecting cases). But, the

        district court noted that Facebook “is different from hard drives or email accounts in

        many ways, including that the information associated with the account is categorized

        by the company—not the user.” This is critical (and obviously known to law

        enforcement based on the categories of Facebook information requested in this



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        warrant) because it is entirely feasible to tailor requests for Facebook account

        information to categories for which there is, in fact, probable cause.

              As explained in Shipp:

              For this reason, Facebook is less like other areas of the ‘digital realm,
              where the size or other outwardly visible characteristics of a file may
              disclose nothing about its content,’ [citation omitted], and more akin to
              a physical location, in which ‘the physical dimensions of the evidence
              sought will naturally impose limitations on where an officer may pry:
              an officer could not properly look for a stolen flat-screen television by
              rummaging through the suspect’s medicine cabinet, nor search for false
              tax documents by viewing the suspect’s home video collection,’
              [citation omitted]. The concerns present in the search of a hard drive or
              email account—that evidence sought could be located almost
              anywhere—and which necessitate broad digital search protocols do not,
              therefore, exist in the Facebook context. For example, there is no
              possibility that a user could have filed an incriminating photo as a
              ‘poke,’ and there is no chance that an incriminating message will be
              stored as a third-party password or a rejected friend request.

        Id. at 309.

              Other courts have agreed that Facebook warrants can be limited and the

        “government need only send a request with the specific data sought and Facebook

        will respond with precisely that data.” United States v. Blake, 868 F.3d 960, 974

        (11th Cir. 2017)). The Shipp court was “concerned that Facebook warrants of the

        kind at issue here unnecessarily authorize precisely the type of ‘exploratory

        rummaging’ the Fourth Amendment protects against.” Id. at 311 (internal quotation

        marks and citation omitted).




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               Here, law enforcement used template warrants and made no effort to tailor

        them to categories of information actually supported by the warrant affidavits. The

        affidavits alleged that the defendants may have been involved in trafficking of

        MINOR-2 for a short period of time and requested all information from their social

        media account for over 18 months or even, in the case of Luis Gonzalez, forever.

        These broad searches included seizing such items as [p]hotographs of women or

        girls in provocative poses, lingerie or naked women or girls” when there were no

        facts indicating the defendants were involved in an ongoing prostitution enterprise.

        JA1426, JA1478, JA1487. It is also hard to believe that the defendants “likes,”

        Facebook security questions, News Feed information, status updates, “gifts,”

        “pokes,” “tags,” privacy settings, Facebook pages of which they were “fans” of, “the

        length of service and the means and source of any payments associated with the

        service (including any credit card or bank account number),” communications and

        location months outside the period of offense conduct, and a host of other

        information would harbor evidence of the particular crimes described in the

        affidavit.
               The District of Columbia Court of Appeals recently addressed an analogous

        situation: overbroad warrants for cell phones where the court struck down warrants

        authorizing a review of the “entire contents” of the appellant’s two cell phones.

        Eugene Burns v. United States, 235 A.3d 758 (D.C. 2020) (internal citations

        omitted). In Burns, the warrants authorized a review of the complete contents of



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        seized phones, which resulted in law enforcement finding incriminating internet

        searches. Repeatedly citing Riley v. California, the Burns court recognized that “a

        modern smart phone [is] capable of holding an extraordinary amount of personal

        information related to the user and/or owner of the device” and held:

              Police sought search warrants that authorized an unlimited review of the
              contents of his cell phones for ‘any evidence’ of murder even though the
              warrants were supported by affidavits that established probable cause for
              only three narrow and discrete items of data. The warrants were thus
              overbroad and lacking in probable cause and particularity, and the
              warrant judge should not have issued them.

        Id. at 767.

              In light of Riley, multiple courts have begun to condemn warrants authorizing

        searches for the entire contents of cell phones that fail to adhere to the probable cause

        and particularity mandates of Fourth Amendment. See e.g. State v. Smith, 344 Conn.

        229, 252, 278 A.3d 481, 497 (2022) (search warrant did not comply with the

        particularity requirement because it did not sufficiently limit the search of the

        contents of the cell phone by description of the areas within the cell phone to be

        searched, or by a time frame reasonably related to the crimes); Richardson v. State,

        481 Md. 423, 282 A.3d 98 (2022) (search warrant authorizing officers to search and

        seize “all information” and “any other data stored or maintained inside of” cell phone

        violated Fourth Amendment's particularity requirement, because warrant and

        affidavit contained impermissibly broad “catchall” language, and detective did not




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        include any temporal restrictions or any other limitations, such as restrictions

        relating to application or other communication applications, call logs, or

        navigation/location data for evidence relating to robbery); Taylor v. State, 260 A.3d

        602, 615–16 (Del. 2021) (search warrant that authorized “a top-to-bottom search” of

        “[a]ny and all store[d] data” of the digital contents of the devices held to be

        overbroad and violative of the particularity requirement); State v. Bock, 310 Or. App.

        329, 334–36, 485 P.3d 931, 935–36 (2021) (search warrant that authorized seizure

        of any item on a cell phone that might later serve as circumstantial evidence of the

        device owner or user tantamount to a general warrant and thus overbroad); People

        v. Clarke, 73 Misc. 3d 1231(A), 156 N.Y.S.3d 830 (N.Y. Sup. Ct. 2021)

        (unpublished) (search warrant overbroad and failed to satisfy the particularity

        requirement where it authorized a search of nearly all files and data on the

        defendant's cell phone and failed to specify any date restriction of the files and data

        to be searched); United States v. Winn, 79 F. Supp. 3rd 904, 909 (S.D. Ill. 2015)

        (same).

              In United States v. Winn, cited above, the defendant was suspected of using

        his cell phone to take photographs and/or videos of young girls in swimsuits without

        their parents’ permission. 79 F. Supp. 3rd 904, 909 (S.D. Ill. 2015). Law

        enforcement sought and obtained a search warrant for the defendant’s phone that

        authorized the collection of “any or all files contained on the cell phone and its



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        memory card that constituted evidence of the offense of Public Indecency.” Id. at

        910-911. Additionally, the warrant permitted seizure of data “including, but not

        limited to, the calendar, phonebook, contacts, SMS messages, MMS messages,

        emails, pictures, videos, images, ringtones, audio files, all call logs, installed

        application data, GPS information, WIFI information, internet history and usage,

        any system files, and any deleted data.” Id. at 919.

              While the Winn court found probable cause to believe that the defendant’s

        phone contained evidence of the suspected crime, it found the warrant to be

        impermissibly overbroad and therefore in violation of the Fourth Amendment. In

        doing so, the district court noted several important considerations. First, the court

        found that the warrant’s authorization to search “any or all files” was fatal because

        there was no probable cause whatsoever to believe that all data on the phone was

        evidence of a crime. Id. Indeed, the Winn court noted that numerous categories of

        data sought by the police, such as the calendar, phonebook, contacts, etc., had no

        connection whatsoever to the suspected offense. Id. at 919-920. The court stated:

              The bottom line is that if Detective Lambert wanted to seize every
              type of data from the cell phone, then it was incumbent upon him to
              explain in the complaint how and why each type of data was
              connected to Winn's criminal activity, and he did not do so.
              Consequently, the warrant was overbroad, because it allowed the
              police to search for and seize broad swaths of data without probable
              cause to believe it constituted evidence of public indecency.

                                                               Id. at 920.



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              In addition, the Winn court disapproved of the overbroad authorization to

        seize even those categories of data for which probable cause existed—photos and

        video—without any attendant limitations to subject matter and time. Id. As such, the

        court noted that the warrant should have limited the seizure of photos and video

        solely to those images connected with the criminal investigation and restricted a

        timeframe to the date of the suspected offense. Id. at 920. Noting that the warrant

        “allowed precisely the kind of rummaging through a person’s belongings, in search

        of evidence of even previously unsuspected crimes or of no crime at all, that the

        Fourth Amendment proscribes,” the Winn court refused to endorse such a facially

        overbroad warrant. Id.

              Here, like Winn, the special agent had a duty to describe in the warrant

        affidavits how each category of information sought from the defendants’ Facebook

        accounts was connected to the defendants’ alleged criminal activity and did not do

        so. Further, as in Winn, even for any categories of information arguably supported

        by probable cause, the special agent failed to restrict the request to a timeframe of

        the suspected offenses. As such, the warrant, like the ones considered in numerous

        case cited above, should be struck down, and their fruits suppressed.

        D.    THE EXCLUSIONARY RULE’S GOOD FAITH EXCEPTION
              SHOULD BE REJECTED

              The Shipp court, despite its concerns regarding the overbroad Facebook

        warrant, applied the good-faith exception to the Fourth Amendment’s exclusionary

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        rule and upheld the warrant. The court found that the warrant was not so facially

        deficient “of probable cause as to render official belief in its existence entirely

        unreasonable” and the affidavit “articulated probable cause to search at least certain

        categories of information or services associated with the Facebook account.” Id. at

        312 (citing other courts applying good faith exception to similar warrants); see also

        United States v. Jason Mize, No. 1:18-cr-74 (S.D. Ohio 2020) at 10 (applying good

        faith exception to likely overbroad Facebook warrant and collecting cases holding

        the same). 10

              But this Court should not apply the good faith exception to the Fourth

        Amendment’s exclusionary rule. The special agent who prepared the warrant

        affidavit for Facebook accounts in this case knew he had requested Facebook records

        for defendants beyond the timeframe of the alleged offense based on the warrant

        affidavits and indictment. Further, how many times must law enforcement receive

        the benefit of the good faith exception for overbroad Facebook warrants when courts

        have been criticizing such warrants for several years? In 2017, the Eleventh Circuit,

        in considering essentially identical Facebook warrants as here, stated the warrants

        “unnecessarily” required the disclosure of “every kind of data that could be found in



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          The court particularly cited United States v. Liburd, No. 17-cr-296, 2018 WL
        2709199 (E.D.N.Y June 5, 2018), United States v. Westley, No. 17-cr-171, 2018 WL
        3448161 (D. Conn. July 17, 2018), and United States v. Tairod Nathan Webster
        Pugh, No. 15-cr-00116 (E.D.N.Y. Dec. 21, 2015).

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        a social media account.” United States v. Blake, 868 F.3d 960, 974 (11th Cir. 2017).

        That is, the government and the FBI have been on notice that Facebook warrants

        such as the one in this case are blatantly overbroad and violate the Fourth

        Amendment.

              In analogous cases concerning overbroad warrants for cell phones, courts have

        refused to apply the good faith exception. In Burns, discussed above, the District of

        Columbia Court of Appeals rejected the government’s claim that overbroad warrants

        for cellphones should be salvaged by the exclusionary rule’s good faith exception:

              The warrants’ deficiencies, moreover, were so extreme and apparent
              that a reasonably well-trained police officer, with reasonable
              knowledge of what the law prohibits, would have known the warrants
              were invalid notwithstanding their approval by a judge. The good
              faith exception to the exclusionary rule therefore does not apply, and
              the trial judge should have granted Mr. Burns’s motion to suppress all
              of the data collected from both phones.

        Burns, 235 A.3d at 767.

              The Winn court, also discussed above, likewise rejected the application of the

        good faith exception in striking down an overbroad cell phone warrant. Winn, 79 F.

        Supp. 3rd at 909. The court noted that law enforcement used a template warrant (like

        here) and neither the prosecutor nor the detective made any effort to tailor the

        template’s categories to those supported by the warrant affidavit. Id. at 923. The

        court in Winn also found that the judge authorizing the warrant could not have

        sufficiently reviewed it where the warrant requested a review of the cell phone’s



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        entire contents. Lastly, the court found that the warrant was “so facially and grossly

        overbroad in its description of the items to be seized that ‘[a] reasonably well-trained

        officer would have known the search was illegal despite the issuing judge’s

        authorization.’” Id. (citing and quoting United States v. Leon, 468 U.S. 896 at 923,

        n. 23 (1984)). It noted the 15 years of experience of the detectives that sought for

        and obtained the warrant and held that “it was not objectively reasonable for them

        to think that a warrant was valid when it gave them unbridled discretion to search

        for and seize whatever they wished.” Id. at 924 (citing United States v. Leary, 846

        F.2d 592, 609 (10th Cir.1988) (“A reasonably well-trained officer should know that

        a warrant must provide guidelines for determining what evidence may be seized.”)).

              Here, the special agent applied for and obtained warrants that used templates

        of Facebook information categories and made no effort to tailor them to those

        categories supported by probable cause. These un-tailored template warrants were

        issued despite the fact that courts, over the past several years, have been critical of

        overbroad Facebook warrants that “unnecessarily” require the disclosure of “every

        kind of data that could be found in a social media account.” United States v. Blake,

        868 F.3d 960, 974 (11th Cir. 2017). Certainly, the warrant affidavits in this matter

        were so obviously overbroad in their requests for nine and then eighteen different

        categories of Facebook account records, many of which were not supported by any

        probable cause whatsoever, that “[a] reasonably well-trained officer would have



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        known the search was illegal despite the issuing judge’s authorization.” United

        States v. Leon, 468 U.S. 896 at 923, n. 23 (1984).

              Given that, the good faith exception does not apply here, and the Court should

        not excuse the overly broad and illegal search warrants issued in this case.

        II.   INSUFFICIENT EVIDENCE WAS PRESENTED AT TRIAL TO
              SUPPORT THE GUILTY VERDICTS ON ALL COUNTS FOR
              DEFENDANT GUTIERREZ-CASTRO

        A.    STANDARD OF REVIEW

              This court reviews, de novo, the district court's denial of a motion for a

        judgment of acquittal. United States v. Green, 599 F.3d 360, 367 (4th Cir. 2010),

        cert. denied, 562 U.S. 913. In assessing the sufficiency of the evidence, the court

        construes the evidence in the light most favorable to the government, assuming its

        credibility, and drawing all favorable inferences from it, and will sustain the jury

        verdict if any rational trier of fact could have found the essential elements of the

        crime charged beyond a reasonable doubt. United States v. Penniegraft, 641 F.3d

        566, 571 (4th Cir. 2011) (citation and emphasis omitted). “Appellate reversal on

        grounds of insufficient evidence . . . will be confined to cases where the

        prosecution’s failure is clear.” Green, 599 F.3d at 367 (internal quotation marks,

        alteration, and citation omitted). A defendant challenging the sufficiency of the

        evidence to support his conviction bears a heavy burden. United States v. Beidler,

        110 F.3d 1064, 1067 (4th Cir. 1997) (internal quotation marks and citation omitted).



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              The remedy for reversal of a conviction based on insufficiency of the evidence

        is entry of judgment of acquittal. Ortega-Rodriguez v. United States, 507 U.S. 234,

        249 (1993).

        B.    INSUFFICIENT EVIDENCE WAS PRESENTED TO PROVE
              DEFENDANT GUTIERREZ-CASTRO GUILTY

              As previously noted, at the conclusion of the prosecution’s case, defendant

        Gutierrez-Castro made a motion for judgment of acquittal pursuant to Rule 29,

        Federal Rules of Criminal Procedure. The motion was renewed at the end of all of

        the evidence by the court as it stated it would deem as renewed each defendant’s

        motion to save time. JA1178. The court thereafter gave each defendant additional

        time to file additional arguments concerning the Rule 29 motion for judgment of

        acquittal. Defendant Gutierrez-Castro did not offer additional arguments concerning

        the issue. The court subsequently denied the defendant’s Rule 29 motion. JA51.

        Defendant Gutierrez-Castro now contends that the trial judge committed error when

        he denied his Rule 29 motion based upon the evidence and arguments made at the

        conclusion of the government’s case and renewed motion preserved by the court at

        the conclusion of all of the evidence presented in the case.

              As stated previously, the government failed to establish beyond a reasonable

        doubt that defendant Gutierrez-Castro committed the crimes for which he was

        charged. Not one witness testified about an agreement with Gutierrez-Castro to

        engage in sex trafficking. Not one witness testified about Gutierrez-Castro assaulting

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        the alleged victim. Not one witness testified about Gutierrez-Castro transporting the

        victim for the purpose of engaging in criminal sexual activity. Not one witness

        testified about Gutierrez-Castro receiving or giving anything of value or otherwise

        in return for sexual acts by the victim. The victim, at best, testified, that while at

        Gutierrez-Castro’s home, she overhead him discussing with others payment for

        having sex with her. JA457-458. She made inconsistent statements regarding this

        issue, and she never witnessed any payments. She initially told law enforcement she

        never heard anything about this and she initially responded that she never heard him

        discuss payment when questioned on direct examination. JA456, JA560. She never

        testified about any form of force, fraud and coercion by Gutierrez-Castro or him

        transporting her anywhere for the purpose of engaging in criminal conduct of any

        kind.

                Accordingly, this court should enter a judgment of acquittal on all counts as

        to Gutierrez-Castro.

                                           CONCLUSION

                For the above stated reasons, this Honorable Court should reverse Defendant-

        Appellants’ convictions and remand the case to the district court for a new trial. For

        the above stated reasons, this Honorable Court should reverse the convictions

        concerning defendant Gutierrez-Castro and enter a judgment of acquittal as to all

        counts.



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                            REQUEST FOR ORAL ARGUMENT

              Defendant-Appellants respectfully request oral argument.

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                   CERTIFICATE OF COMPLIANCE WITH RULE 32(a)

        1.    This brief complies with type-volume limits because, excluding the parts of
              the document exempted by Fed. R. App. P. 32(f) (cover page, disclosure
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              Dated: June 26, 2023                    /s/ Joseph King
                                                      Counsel for Mr. Moises Zelaya-Veliz




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                                   CERTIFICATE OF SERVICE

              I hereby certify that on this 26th day of June, 2023, I caused this Brief of

        Appellants and Joint Appendix to be filed electronically with the Clerk of the Court

        using the CM/ECF System, which will send notice of such filing to the following

        registered CM/ECF users:

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              I further certify that on this 26th day of June, 2023, I caused a copy of the

        Sealed Volume of the Joint Appendix to be served, via FedEx, upon counsel for the

        Appellee, at the above address.

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